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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


LOVEPOP, INC.,                                      Civil Action No. 1:17-cv-11017

       Plaintiff,

                       v.

PAPERPOPCARDS INC.,

       Defendant.


                            CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 7.3,

Plaintiff, LovePop, Inc., hereby certifies it has no parent corporation and no publicly held

company owns 10% or more of its stock.

                                               FOLEY HOAG LLP


Dated: June 1, 2017                            /s/ Neil Austin
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                                               * Motion for admission pro hac vice
                                               forthcoming
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                                 CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system and all attachments will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).
A copy of the document will be served on Defendant with the Summons and Complaint.


                                                      /s/ Neil Austin
                                                       Neil Austin




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